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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      Criminal No. 21-cr-00285-JEB
       v.                                      :
                                               :
DAMON MICHAEL BECKLEY,                         :
                                               :
                       Defendant.              :

______________________________________________________________________________

    JOINT MOTION TO CONVERT JURY TRIAL TO STIPULATED TRIAL AND
                    ESTABLISH STIPULATED TRIAL DATE
______________________________________________________________________________

       The United States and the defendant, Damon Michael Beckley, by and through their

undersigned attorneys, hereby move the Court to (1) convert the jury trial in this matter that is

scheduled for March 20, 2023, to a stipulated bench trial; and (2) establish a date for the stipulated

trial on February 27, 2023 or as soon thereafter as the Court is available (the parties estimate that

two hours would be sufficient). In support of the requested stipulated trial, the parties hereby

attach the following executed documents: Statement of Facts for Stipulated Trial, and Agreement

and Waiver of Jury Trial Rights.

       The parties will be prepared to discuss scheduling and any other matters at the previously

scheduled conference in this case on Friday, February 17, 2023, at 11:00 a.m.



                                               Respectfully submitted,

Counsel for the Government

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:     /s/________________________
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                                    Jason M. Manning
                                    NY Bar No. 4578068
                                    Trial Attorney, Detailee
                                    1400 New York Ave NW, 11th Floor
                                    Washington, D.C. 20005
                                    (202) 514-6256
                                    Jason.Manning@usdoj.gov

                                    Julie Bessler
                                    Assistant United States Attorney
                                    601 D Street NW
                                    Washington, D.C. 20530
                                    PA Bar No. 328887
                                    Julie.Bessler@usdoj.gov


Counsel for the Defendant:


                                    /s/
                                    Aaron Dyke, Esq.
                                    Federal Defender
                                    200 Theatre Building
                                    629 Fourth Avenue
                                    Louisville, Kentucky 40202
                                    (502) 584-0525




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